     8:19-cr-00181-DCC        Date Filed 08/01/19     Entry Number 398   Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                           ANDERSON/GREENWOOD DIVISION


UNITED STATES OF AMERICA

              vs                                          CR NO. 8:19cr181-01

DETRIC LEE MCGOWAN




                                           PLEA

       The defendant, DETRIC LEE MCGOWAN pleads GUILTY to Count(s) 1,25 and 29

of the Superseding Indictment and Count(s) 1 and 2 of the Information.



                                                   (Signed) Defendant

Spartanburg, South Carolina
August 1, 2019
